
Upon consideration of the petition filed by Plaintiff on the 14th day of March 2005 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 30th day of June 2005."
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 14th day of March 2005 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals; the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 30th day of June 2005."
Upon consideration of the petition filed on the 14th day of March 2005 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 30th day of June 2005."
